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 8                                 IN THE UNITED STATES DISTRICT COURT

 9                                    EASTERN DISTRICT OF CALIFORNIA

10

11    UNITED STATES OF AMERICA,                            No. 1:16-CR-00069-LJO-SKO

12                                        Plaintiff,       UNITED STATES’ REQUEST FOR AN
                                                           ORDER AUTHORIZING DISCOVERY IN
13                               v.                        THE ANCILLARY PROCEEDING; ORDER
                                                           THEREON
14    NASTASHA PARKS,
      TRENELL MONSON,                                      [FED. R. CRIM. P. 32.2(c)(1)(B)]
15    JAMES YORK,
      KENNETH WHARRY,
16    KIANDRE JOHNSON,
      DARRELL MAXEY,
17    DAVON MILLRO,
      KENNETH RAY JOHNSON, III,
18    ANTHONY WINDFIELD, and
      STEVEN BLACKMON,
19
                                          Defendants.
20
21                                                 I. INTRODUCTION

22           Pursuant to Fed. R. Crim. P. 32.2(c)(1)(B), the United States requests the Court to allow it

23   to conduct discovery to explore the basis for the claim filed by petitioners Shawanna Munson,

24   Shakore Ogan, Trenell Hollins, Kaneshia Munson, and Tawanna Munson (“Petitioners”)

25   regarding their interest in property forfeited from the one or more of the above-captioned

26   defendants. Petitioners give a general alleged interest in the following property:

27                     a. 2009 Chevrolet Silverado, License No. 8T76940,

28                         VIN: 3GCEC23J39G189314;
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 1                  b. 2007 Mercedes-Benz S550, License No. 7LFW574,

 2                      VIN: WDDNG71X67A097849;

 3                  c. 2006 Chevrolet C5500 Bus, License No. 29430V1,

 4                      VIN: 1GBE5V1276F413337;

 5                  d. 2000 Reinell Boat and Trailer, Registration No. CF0348PB, Hull No.

 6                      RNA00364J900, Trailer License No. 1JG4820;

 7                  e. 1988 Ford Mustang, License No. 4XJJ979, VIN: 1FABP44A4JF274577;

 8                  f. 1987 Chevrolet Monte Carlo, License No. 5DFY196,

 9                      VIN: 1G1GZ11G8HR111353; and,

10                  g. 1969 Chevrolet Chevelle Malibu, License No. 7FIH462, VIN:

11                      136679B405688;

12   hereafter (the “Subject Assets”) that were seized in Fresno, California on April 21, 2016, as part

13   of this criminal investigation.

14                                           II. BACKGROUND

15             1.   On May 5, 2016, the above-named defendants, and others were indicted in a

16   twenty-six count indictment for conspiracy to commit murder in aid of racketeering, sex

17   trafficking, transportation in interstate commerce for prostitution, and other related charges.

18   (ECF No. 127.)

19             2.   On June 11, 2018, Trenell Monson plead guilty to Counts One through Three of a

20   Superseding Information and forfeited all his right, title, and interest to the assets seized in this
21   case; namely, the Subject Assets. (ECF No. 607). Defendant Trenell Monson was sentenced on

22   October 1, 2018. (ECF No. 727).

23             3.   On August 29, 2018, the Court entered a Preliminary Order of Forfeiture for the

24   assets seized in the case, including the Subject Assets, pursuant to 18 U.S.C. §§ 981(a)(1)(C),

25   924(d), 982(a)(2)(B), 1029(c)(1)(C), 2428, 26 U.S.C. §5872, 7301, 7303, and 28 U.S.C. §

26   2461(c), which authorizes the forfeiture of assets used or intended to be used to commit or to
27   facilitate the commission of a violation of 18 U.S.C. § 1027 and 2421, or property which

28   constitutes, or is derived from proceeds the defendant(s) obtained directly or indirectly, as a result
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 1   of a violation of 18 U.S.C. §§ 1029, 1952, and 2421, or is property on which, or for or in respect

 2   whereof, any tax is imposed for the purpose of being sold or removed by the defendant or

 3   property used to transport or for deposit or concealment of property in violation of 26 U.S.C. §

 4   7206. (ECF No. 664).

 5           4.        Following the Court’s entry of a preliminary order of forfeiture, the United States

 6   provided notice to all known and unknown potential claimants, pursuant to 21 U.S.C. § 853(n),

 7   18 U.S.C. § 1963(l) and Local Rule 171. As to the Subject Assets, the earliest deadline to file a

 8   petition was December 26, 2018. The government granted counsel representing Petitioners in this

 9   case a two-week extension to January 9, 2019 to file their ancillary petition.

10           5.        On January 7, 2019, Petitioners filed a verified claim and request for judicial

11   determination contesting the forfeiture of the Subject Assets. (ECF No. 774.) Petitioners allege

12   themselves as lawful owners of the Subject Assets and that the Subject Assets were not purchased

13   with proceeds of a specific unlawful activity.

14                                                     III. ANALYSIS

15           6.        Federal Rule of Criminal Procedure 32.2(c) governs third party asset forfeiture

16   proceedings in criminal cases. Rule 32.2(c)(1) provides that if a third party files a petition

17   asserting an interest in property to be forfeited in a criminal case, the district court must conduct

18   an ancillary hearing. Fed.R.Crim.P. 32.2(c)(1). Rule 32.2(c)(1)(B) provides that prior to the

19   ancillary hearing the Court may permit the parties to conduct discovery in accordance with the

20   Federal Rules of Civil Procedure if the court determines that discovery is “necessary or desirable
21   to resolve factual issues.” Fed.R.Crim.P. 32.2(c)(2)(B).

22           7.        The United States believes that discovery is necessary and desirable to evaluate

23   Petitioners’ ownership in the Subject Assets because if Petitioners can provide information

24   showing that either the Subject Assets were not derived from or were not used to facilitate the

25   criminal activity charged in this case, an ancillary hearing may not be necessary.

26           8.        The United States requests and proposes the following discovery, motion and
27   hearing schedule:

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 1                                    Event                                Proposed Date/Deadline
 2             Discovery Cut off                                                April 26, 2019
 3             Last Day to File Dispositive Motions                              May 31, 2019
                                                                                 July 15. 2019
 4
               Ancillary Hearing                                               July 22, 2019, or
 5                                                                               July 29, 2019
 6                                                     IV. CONCLUSION
 7           For the foregoing reasons, the United States requests the Court: (1) enter an order
 8   authorizing the parties to conduct discovery pursuant to Fed. R. Crim. P. 32.2(c)(1)(B); and (2) to
 9   adopt the above litigation schedule or set a discovery schedule that the Court deems appropriate.
10   Dated: January 10, 2019                                         McGREGOR W. SCOTT
11                                                                   United States Attorney

12
                                                           By:        /s/ Jeffrey A. Spivak
13
                                                                     JEFFREY A. SPIVAK
14                                                                   Assistant U.S. Attorney

15

16                                                        ORDER

17
     IT IS SO ORDERED.
18
         Dated:      January 11, 2019                                 /s/ Lawrence J. O’Neill _____
19
                                                           UNITED STATES CHIEF DISTRICT JUDGE
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